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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

RANDY J. MATA,

              Plaintiff,

v.                                                             CV No. 20-274 KG/CG

ANDREW SAUL, Commissioner of the
Social Security Administration,

              Defendant.

                     ORDER TO SEAL ADMINISTRATIVE RECORD

       THIS MATTER is before the Court on Defendant Andrew Saul’s Unopposed

Motion to Seal Administrative Record (the “Motion”), (Doc. 21), filed October 15, 2020.

The Court, having considered the Motion and noting it is unopposed, finds the Motion is

well-taken and shall be GRANTED.

       IT IS THEREFORE ORDERED that the administrative record lodged by

Defendant in the above-referenced case shall be permanently sealed. Access to the

administrative record shall be limited to the Court and the case participants only.

       IT IS SO ORDERED.


                                   ____________________________________
                                   THE HONORABLE CARMEN E. GARZA
                                   CHIEF UNITED STATES MAGISTRATE JUDGE
